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Oilfield Glossary: Term ‘cementing’                                                                                                                                   Page 1 of 1



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                                              1. vb. [Drilling]
  Terms beginning with:
                                              To prepare and pump               into place in a welibore. Cementing operations
  #A B COE                          F         may be •undertaken to seal the annulus after a jgjg has been                   to
  GH I J KL                        M          seal a lost circulation zone, to set a plug in an existing well from which to push
  NO P QRS                         T          off with directional tools or to plug a well so that It may be abandoned. Before
  UvWxyz                           All        cementing operations commence, engineers determIne the volume of cement
                                              (commonly with the help of a caliper log to be placed in the wellbore and the
 Resource Links                               physical properties of both the          and the set cement needed, including
                                              density and viscosity. A cementIng crew uses special mixers and pumps to                                  Photograpt of onshore
 * Oillleld Services                                                                                                                                    ocaUon and cementing
                                              displace drillIng fluids and place cement In the weilbore.                                                equipment
 • Schlumberger Excellence
   in Educational Development                 See:                ciro.zlatina temeerature, boe-sorklg                   casino ocalt, cement head,
 • Olifield Review                            Centralizer. cirecic valve.           drillinra fluid, float iced,             ooenhole, okio and
 + Curve Mnemonic Dictionary
                                              abandon, reclorocate, scratcher, surface calng,               jay, watt err cement

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